       Case 2:03-cr-00376-DLJ Document 37 Filed 11/22/05 Page 1 of 2

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 5   Attorneys for Defendant
     FRANCES MORADA
 6

 7

 8               IN THE UNITED STATES DISTRICT COURT FOR THE

 9                            EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                      CASE NO. S-03-376-DFL

12                                                  STIPULATION AND PROPOSED
                 Plaintiff,                         ORDER REGARDING
13                                                  CONTINUANCE OF STATUS
           vs.                                      CONFERENCE
14
     FRANCES MORADA,
15   LILY MIZRAHE

16               Defendants.
                                            /
17
           Defendant Frances Morada, through her counsel of record, Malcolm Segal,
18
     and Defendant Lily Mizrahe, through her counsel of record, Bruce Locke, and
19
     Plaintiff United States of America, through its counsel, Assistant United States
20
     Attorney Daniel S. Linhardt, agree and stipulate that the status conference set for
21
     November 17, 2005 may be continued to January 19, 2006 at 10:00 AM, in order to
22
     permit the parties to further investigate, review and discuss the case regarding future
23
     proceedings, and to permit the defendants the opportunity to complete interviews
24
     required in connection with a deferred prosecution agreement. This case continues
25
     to be complex within the meaning of the Speedy Trial Act due to the volume of
26
     discovery, complexity of the legal and factual issues, and the need of counsel to
27
     conduct independent investigations.
28

                                                1
       Case 2:03-cr-00376-DLJ Document 37 Filed 11/22/05 Page 2 of 2

 1         Accordingly, the time between the scheduled court appearance on November

 2   17, 2005 and the status conference on January 19, 2006 should continue to be

 3   excluded from the calculation of time pursuant to the Speedy Trial Act, due to

 4   complexity and counsels’ need to prepare. 18 U.S.C. §3161 (h) (8) (B) (ii) and (iv)

 5   [Local Codes T2/T4].

 6

 7   Dated: November 15, 2005                  SEGAL & KIRBY

 8

 9
                                           By: /s/ Malcolm S. Segal
10                                            MALCOLM S. SEGAL
                                              Counsel for Defendant Frances Morada
11

12

13   Dated: November 15, 2005                  MOSS & LOCKE

14

15

16                                         By: /s/ Bruce Locke
                                              BRUCE LOCKE
17                                            Counsel for Defendant Lily Mizrahe

18

19
     Dated: November 15, 2005
20

21                                         By: /s/ Daniel S. Linhardt
                                              DANIEL S. LINHARDT
22                                            Assistant United States Attorney

23
     IT IS SO ORDERED.
24

25   Dated: 11/21/ 2005

26
                                           ___/s/ David F. Levi
27                                         HONORABLE DAVID F. LEVI
                                           Chief Judge, United States District Court
28

                                               2
